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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff,                                                CRIMINAL NO.: 15-462 (JAG)

 v.

 VAZQUEZ-CARRASQUILLO et al.,
 Defendant.

                  MOTION TO WITHDRAW AS COUNSEL OF RECORD

TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through its undersigned attorneys

and respectfully states and prays as follows:

       The undersigned Assistant United States Attorney (AUSA) Jonathan Jacobson is no longer

the AUSA assigned to the above captioned case. Therefore, it is respectfully requested that this

Court accept this request to withdraw as attorney for the United States in this particular case.

       WHEREFORE, the United States respectfully requests that this Honorable Court take

notice of the foregoing and grant the withdrawal of Assistant U.S. Attorney Jonathan Jacobson as

counsel for the prosecution in the instant case and cease of further notifications.

       RESPECTFULLY SUBMITTED,

       In San Juan, Puerto Rico, this 12 day of March 2020.

                                                      /s/Jonathan E. Jacobson
                                                      Jonathan E. Jacobson, USDC G02706
                                                      Assistant United States Attorney
                                                      Torre Chardon
                                                      350 Avenida Carlos Chardon, Suite 1201
                                                      San Juan, Puerto Rico 00918-2142
                                                      787-766-5656
                                                      jonathan.jacobson@usdoj.gov
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all attorneys
of record.
       In San Juan, Puerto Rico, this 12 day of March 2020.

                                                    /s/Jonathan E. Jacobson
                                                    Jonathan E. Jacobson
                                                    USDC G02706




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